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                                                   UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF VIRGINIA

                                                                    CHAPTER 13 PLAN
                                                                  AND RELATED MOTIONS
Name of Debtor(s):                  Mary King Alexander                                    Case No:   16-35652-KRH


This plan, dated          November 21, 2016               , is:

                                the first Chapter 13 plan filed in this case.
                                a modified Plan, which replaces the
                                  confirmed or unconfirmed Plan dated .

                                Date and Time of Modified Plan Confirming Hearing:

                                Place of Modified Plan Confirmation Hearing:


                      The Plan provisions modified by this filing are:


                      Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this Plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This Plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than seven (7) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing. If no objections are timely filed, a confirmation hearing will NOT be held.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $588,147.00
          Total Non-Priority Unsecured Debt: $79,708.15
          Total Priority Debt: $11,066.00
          Total Secured Debt: $80,625.00




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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $980.00 Monthly for 60 months. Other payments to
           the Trustee are as follows: NONE . The total amount to be paid into the plan is $ 58,800.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.          Administrative Claims under 11 U.S.C. § 1326.

                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10%, of all sums
                                    disbursed except for funds returned to the debtor(s).
                       2.           Debtor(s)' attorney will be paid $ 4,800.00 balance due of the total fee of $ 5,100.00 concurrently
                                    with or prior to the payments to remaining creditors.

           B.          Claims under 11 U.S.C. §507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                       other priority creditors but concurrently with administrative claims above:

Creditor                                        Type of Priority                                     Estimated Claim         Payment and Term
Commonwealth of Virginia                        Taxes and certain other debts                                813.00                        13.55
                                                                                                                                      60 months
County of Henrico                               Taxes and certain other debts                               1,400.00                       23.33
                                                                                                                                      60 months
Internal Revenue Service                        Taxes and certain other debts                               8,853.00                      147.55
                                                                                                                                      60 months

3.         Secured Creditors: Motions to Value Collateral ("Cramdown"), Collateral being Surrendered, Adequate Protection
           Payments, and Payment of certain Secured Claims.

           A.          Motions to Value Collateral (other than claims protected from "cramdown" by 11 U.S.C. § 1322(b)(2) or by
                       the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the Court, the
                       Court may grant the debtor(s)' motion to value collateral as set forth herein.


           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           "cramdown" by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)' principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 3(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any "crammed down" loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 4 of the Plan.
           The following secured claims are to be "crammed down" to the following values:

       Creditor                                      Collateral                    Purchase Date        Est Debt Bal.      Replacement Value
Ally Financial               2014 Chevrolet Camaro 50,000 miles                        03/13/2014             24,796.00                  19,325.00
                             (titled in debtor's and son's name)
FMC-Omaha                    2011 Ford Escape 120,000 miles                            09/13/2013             15,749.00                   9,225.00
Service Ctr
Lendmark                     Household Furnishings - Television                            12/2014              7,659.20                     250.00
Financial Servi
Mariner Finance              Household Furnishings - Television                        08/11/2014               2,082.00                     250.00
Springleaf                   Household Furnishings - Television                        11/17/2014               7,245.00                     250.00
Financial Services
Value City                   Living Room Set and Tables                                      2008               1,104.95                     125.00
Furniture




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         B.          Real or Personal Property to be Surrendered.

         Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
         claims of the following creditors in satisfaction of the secured portion of such creditors' allowed claims. To the extent that the
         collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
         non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay as to the interest of the debtor(s)
         and the estate in the collateral.

Creditor                                             Collateral Description                              Estimated Value        Estimated Total Claim
-NONE-

         C.          Adequate Protection Payments.

         The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
         secured by personal property, until the commencement of payments provided for in sections 3(D) and/or 6(B) of the Plan, as
         follows:

                                                                                                        Adeq. Protection
Creditor                                             Collateral Description                             Monthly Payment                  To Be Paid By
Ally Financial                                       2014 Chevrolet Camaro 50,000 miles                              95.00                        Trustee
                                                     (titled in debtor's and son's name)
FMC-Omaha Service Ctr                                2011 Ford Escape 120,000 miles                                  45.00                        Trustee
Value City Furniture                                 Living Room Set and Tables                                      10.00                        Trustee
         Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
         6(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
         order for relief).

         D.          Payment of Secured Claims on Property Being Retained (except only those loans provided for in section 5 of
                     the Plan):

         This section deals with payment of debts secured by real and/or personal property [including short term obligations,
         judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
         allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral's
         replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
         the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
         Plan, the valuation and interest rate shown below will be binding unless a timely written objection to confirmation is
         filed with and sustained by the Court.

                                                                          Approx. Bal. of Debt or         Interest
     Creditor                                 Collateral                 "Crammed Down" Value              Rate       Monthly Paymt & Est. Term**
Ally Financial             2014 Chevrolet Camaro 50,000                                     19,325.00     4.25%                                438.51
                           miles                                                                                                           48 months
                           (titled in debtor's and son's name)
FMC-Omaha                  2011 Ford Escape 120,000 miles                                    9,225.00      4.5%                                189.03
Service Ctr                                                                                                                                54 months
Lendmark           Household Furnishings -                                                    250.00       4.5%                                 21.34
Financial Servi    Television                                                                                                              12 months
Mariner Finance    Household Furnishings -                                                    250.00       4.5%                                 21.34
                   Television                                                                                                              12 months
Springleaf         Household Furnishings -                                                    250.00       4.5%                                 21.34
Financial Services Television                                                                                                              12 months
Value City         Living Room Set and Tables                                                 125.00       4.5%                                 10.67
Furniture                                                                                                                                  12 months

         E.          Other Debts.


         Debts which are (i) mortgage loans secured by real estate which is the debtor(s)' primary residence, or (ii) other long term
         obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
         payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 5 of the Plan.

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4.         Unsecured Claims.

           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 3 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 0 %.

           B.          Separately classified unsecured claims.

Creditor                                                        Basis for Classification                                              Treatment
-NONE-

5.         Mortgage Loans Secured by Real Property Constituting the Debtor(s)' Primary Residence; Other Long Term
           Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any
           existing default under 11 U.S.C. § 1322(b)(5).

           A.          Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors listed below
                       will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if any, will be
                       paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated below, without
                       interest unless an interest rate is designated below for interest to be paid on the arrearage claim and such interest is
                       provided for in the loan agreement.

                                                                                        Regular                   Arrearage                  Monthly
                                                                                       Contract       Estimated    Interest  Estimated      Arrearage
Creditor                              Collateral                                       Payment        Arrearage     Rate    Cure Period      Payment
Seterus Inc,                          2648 Craig Mill Road South                           378.00      4,400.00     0%       8 months          Prorata
                                      Hill, VA 23970 Lunenburg
                                      County

           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.

                                                                                        Regular                                              Monthly
                                                                                       Contract        Estimated Interest    Term for       Arrearage
Creditor                              Collateral                                       Payment         Arrearage Rate        Arrearage       Payment
-NONE-

           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)' principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:

                                                                                           Interest     Estimated
       Creditor                                    Collateral                                Rate        Claim        Monthly Paymt& Est. Term**
-NONE-


6.         Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts and
           leases listed below.

           A.          Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                  Type of Contract
Greenpath Debt Solutions                                  Credit Counseling - Reject



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            B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                        contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                        arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                        indicated below.

                                                                                                                     Monthly
                                                                                                                     Payment             Estimated
Creditor                                    Type of Contract                                           Arrearage   for Arrears          Cure Period
-NONE-

7.          Liens Which Debtor(s) Seek to Avoid.

            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                        written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                        creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                        hearing.

Creditor                                    Collateral                              Exemption Amount                          Value of Collateral
-NONE-

            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                        the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                        here is for information purposes only.

Creditor                                     Type of Lien                  Description of Collateral               Basis for Avoidance
-NONE-

8.          Treatment and Payment of Claims.

            •           All creditors must timely file a proof of claim to receive payment from the Trustee.
            •           If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                        object to confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the
                        Plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                        for in this case, after the debtor(s) receive a discharge.
            •           If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                        creditor will be treated as unsecured for purposes of distribution under the Plan.
            •           The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, encumber real property or enter into a mortgage loan
            modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.

10.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative
            total of $5,000 principal amount during the term of this Plan, either unsecured or secured against personal property, except
            upon approval of the Court after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to
            the extent required by the Local Rules of this Court.




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11.         Other provisions of this plan:
            I. Payment of Adequate Protection
            - All adequate protection payments set forth in Section 3.C are to be paid through the Trustee.
            - The Debtors shall pay regular post-petition contract payments to the creditors listed in Section 5.A., and such
            payments shall also constitute adequate protection payments to such creditors. Accordingly, the Trustee shall not
            pay adequate protection payments to creditors listed in Section 5.A.
            - No adequate protection payments are to be paid to any creditors unless the Plan provides for the payment of
            adequate protection of such claim(s) through the Trustee in Section 3.C. or directly by the Debtors in Section 5.A., or
            unless the Court orders otherwise.

            II. Notwithstanding the confirmation of this plan the debtor(s) reserve the right to challenge the allowance, validity, or
            enforceability of any claim in accordance with § 502(b) and to challenge the standing of any party to assert any such
            claim.

            III. Direct Payments on Long-Term Debts to the Following Creditor(s):

            Creditor: Fed Loan Servicing

            Under 11 U.S.C. Section 1322(b)(5), since the last payment on the claim is due after the date on which the final
            payment under the plan is due, the Debtors may maintain regular payments while in the plan.


            IV. Upon determination of the value of the cause(s) of action against CashNetUSA and/or CNU of Kansas, LLC, [or
            NetCredit and/or NC Financial Solutions of Utah, LLC] Debtor(s) shall amend the Schedules to accurately reflect the
            value, if any. Upon receipt of proceeds, if any, from the liquidation of the cause(s) of action, Debtor(s) shall pay any
            non-exempt proceeds to the Trustee as additional plan funding.




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Signatures:


Dated:        November 21, 2016


/s/ Mary King Alexander                                                                          /s/ Patrick Thomas Keith VSB
Mary King Alexander                                                                              Patrick Thomas Keith VSB 48446
Debtor                                                                                           Debtor's Attorney


Exhibits:             Copy of Debtor(s)' Budget (Schedules I and J);
                      Matrix of Parties Served with Plan


                                                                       Certificate of Service
I certify that on      November 21, 2016               , I mailed a copy of the foregoing to the creditors and parties in interest on the attached
Service List.

                                                             /s/ Patrick Thomas Keith VSB
                                                             Patrick Thomas Keith VSB 48446
                                                             Signature

                                                             P. O. Box 11588
                                                             Richmond, VA 23230
                                                             Address

                                                             (804) 358-9900
                                                             Telephone No.



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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Ally Bank, Attn: Michael A. Carpenter, CEO
To:        6985 Union Park Center, Suite 435; Midvale, UT 84047
           Name of creditor

           2014 Chevrolet Camaro 50,000 miles
           (titled in debtor's and son's name)
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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                                                                   CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 21, 2016               .


                                                                                  /s/ Patrick Thomas Keith VSB
                                                                                  Patrick Thomas Keith VSB 48446
                                                                                  Signature of attorney for debtor(s)



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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Ford Motor Credit Company, c/o CT Corporation System, Reg. Agent
To:        4701 Cox Road, Suite 285; Glen Allen, VA 23060
           Name of creditor

           2011 Ford Escape 120,000 miles
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 21, 2016               .


                                                                                 /s/ Patrick Thomas Keith VSB
                                                                                 Patrick Thomas Keith VSB 48446
                                                                                 Signature of attorney for debtor(s)



Ver. 09/17/09 [effective 12/01/09]




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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Lendmark Financial Services, Inc., c/o CT Corporation System, Reg. Agent
To:        4701 Cox Road, Suite 285; Glen Allen, VA 23060
           Name of creditor

           Household Furnishings - Television
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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                                                                   CERTIFICATE OF SERVICE
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               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 21, 2016               .


                                                                                 /s/ Patrick Thomas Keith VSB
                                                                                 Patrick Thomas Keith VSB 48446
                                                                                 Signature of attorney for debtor(s)



Ver. 09/17/09 [effective 12/01/09]




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          Case 16-35652-KRH                          Doc 10          Filed 11/21/16 Entered 11/21/16 09:09:35                     Desc Main
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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Mariner Finance, LLC, c/o Corporation Service Company, Reg. Agent
To:        Bank of America Center, 16th Floor; 1111 East Main Street, Richmond, VA 23219
           Name of creditor

           Household Furnishings - Television
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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                                                                   CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

               first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 21, 2016               .


                                                                                 /s/ Patrick Thomas Keith VSB
                                                                                 Patrick Thomas Keith VSB 48446
                                                                                 Signature of attorney for debtor(s)



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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Springleaf Financial Services, Inc., c/o CT Corporation System, Reg. Agent
To:        4701 Cox Road, Suite 285; Glen Allen, VA 23060
           Name of creditor

           Household Furnishings - Television
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                        Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

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             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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on this    November 21, 2016               .


                                                                                 /s/ Patrick Thomas Keith VSB
                                                                                 Patrick Thomas Keith VSB 48446
                                                                                 Signature of attorney for debtor(s)



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                                                              United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      Mary King Alexander                                                                                 Case No.   16-35652-KRH
                                                                                   Debtor(s)                    Chapter    13


                                                 SPECIAL NOTICE TO SECURED CREDITOR

           Value City Department Stores, Inc., c/o Corporation Service Company, Reg. Agent
To:        Bank of America Center, 16th Floor; 1111 East Main Street, Richmond, VA 23219
           Name of creditor

           Living Room Set and Tables
           Description of collateral


1.          The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                        To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and any
                        amount you are owed above the value of the collateral will be treated as an unsecured claim.

                        To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
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             Date objection due:                                                                  No later than 7 days prior to 2/1/17
             Date and time of confirmation hearing:                                                               2/1/17 @ 11:10 a.m.
             Place of confirmation hearing:                                           701 E. Broad St., Room 5000, Richmond, VA

                                                                                         Mary King Alexander
                                                                                         Name(s) of debtor(s)

                                                                                   By:   /s/ Patrick Thomas Keith VSB
                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                         Patrick Thomas Keith VSB 48446
                                                                                         Name of attorney for debtor(s)
                                                                                         P. O. Box 11588
                                                                                         Richmond, VA 23230
                                                                                         Address of attorney [or pro se debtor]

                                                                                         Tel. #     (804) 358-9900
                                                                                         Fax #      (804) 358-8704




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               certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    November 21, 2016               .


                                                                                 /s/ Patrick Thomas Keith VSB
                                                                                 Patrick Thomas Keith VSB 48446
                                                                                 Signature of attorney for debtor(s)



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Fill in this information to identify your case:

Debtor 1                      Mary King Alexander

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               16-35652-KRH                                                                   Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            Secretary                                    Retired
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Henrico County Schools

       Occupation may include student        Employer's address
                                                                   3820 Nine Mile Rd
       or homemaker, if it applies.
                                                                   Richmond, VA 23223

                                             How long employed there?         8/2016

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         2,765.47        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      2,765.47               $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Mary King Alexander                                                                   Case number (if known)    16-35652-KRH


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      2,765.47       $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        459.51   $                    0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00   $                    0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $        147.33   $                    0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00   $                    0.00
      5e.   Insurance                                                                      5e.        $         41.86   $                    0.00
      5f.   Domestic support obligations                                                   5f.        $          0.00   $                    0.00
      5g.   Union dues                                                                     5g.        $          0.00   $                    0.00
      5h.   Other deductions. Specify: Dental                                              5h.+       $         35.40 + $                    0.00
            STIP                                                                                      $          5.50   $                    0.00
            Life                                                                                      $         19.50   $                    0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            709.10       $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,056.37       $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $        122.00       $                0.00
      8b. Interest and dividends                                                           8b.        $          0.00       $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $            2,200.00
      8h. Other monthly income. Specify: Son's Contribution for vehicle                    8h.+ $              400.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            522.00       $           2,200.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,578.37 + $       2,200.00 = $           4,778.37
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,778.37
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
       Case 16-35652-KRH                      Doc 10         Filed 11/21/16 Entered 11/21/16 09:09:35                                 Desc Main
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Fill in this information to identify your case:

Debtor 1                 Mary King Alexander                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           16-35652-KRH
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Son                                  25 Years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           333.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           183.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            86.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
       Case 16-35652-KRH                      Doc 10        Filed 11/21/16 Entered 11/21/16 09:09:35                                        Desc Main
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Debtor 1     Mary King Alexander                                                                       Case number (if known)      16-35652-KRH

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               140.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               137.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               220.00
      6d. Other. Specify:                                                                                    6d.   $                                 0.00
7.    Food and housekeeping supplies                                                                          7.   $                               670.00
8.    Childcare and children’s education costs                                                                8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                               116.00
10.   Personal care products and services                                                                    10.   $                                80.00
11.   Medical and dental expenses                                                                            11.   $                                80.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 292.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                 150.00
14.   Charitable contributions and religious donations                                                       14. $                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                 0.00
      15b. Health insurance                                                                                15b.    $                                 0.00
      15c. Vehicle insurance                                                                               15c.    $                               224.00
      15d. Other insurance. Specify:                                                                       15d.    $                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                                             16. $                                  35.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                      17a. $                                    0.00
      17b. Car payments for Vehicle 2                                                                      17b. $                                    0.00
      17c. Other. Specify: Husband's Car Payment                                                           17c. $                                  480.00
      17d. Other. Specify: Maintance and Electricity on 2396 Craig Mill
                           Road(husband)                                                                   17d. $                                  156.00
             Real Estate Taxes and Ins. for 2396 Craig Mill R(husband)                                          $                                  266.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                      0.00
19. Other payments you make to support others who do not live with you.                         $                                                     0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                      0.00
    20b. Real estate taxes                                                               20b. $                                                      0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21. Other: Specify:   Miscellaneous Expenses                                               21. +$                                                  100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     3,798.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     3,798.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,778.37
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,798.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 980.37

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Office of the US Trustee            Allied Cash Advance                 Ally Financial
701 E. Broad Street                 2312 Hungary Road                   Re: Bankruptcy
Room 4304                           Richmond, VA 23228                  PO Box 380901
Richmond, VA 23219                                                      Minneapolis, MN 55438



Ashro                               Atlantic Law Group, LLC             AvantCredit of Virginia LLC
P.O. Box 2826                       att: Kathryn E. Smits               640 N. La Salle Dr.,Suite 535
Monroe, WI 53566                    PO Box 2548                         Chicago, IL 60654
                                    Leesburg, VA 20177



Bank of America                     Brookwood Loan                      Capital One
1100 North King Street              3440 Preston Ridge Rd Ste 500       PO Box 71083
Wilmington, DE 19884-2211           Alpharetta, GA 30005                Charlotte, NC 28272-1083




Carl A. Eason, Esquire              CashNetUSA                          Chase Bank USA
Wolcott Rivers Gates                200 West Jackson                    PO Box 15145
200 Bendix Rd, Suite 300            Suite 1400                          Wilmington, DE 19850-5145
Virginia Beach, VA 23452            Chicago, IL 60606-6941



Check City                          Check into Cash                     CitiCards CBNA
Re: Bankruptcy                      7601 W Broad Street Suite E         701 E 60th Street N
6001 West Broad Street              Henrico, VA 23294                   Sioux Falls, SD 57117
Richmond, VA 23230



Comenity Bank/ASHSTWRT              Comenity Bank/DRESSBRN              Comenity Bank/HSN
P.O. Box 18289                      P.O. Box 182789                     PO Box 182120
Columbus, OH 43218-2789             Indianapolis, IN 46218              Columbus, OH 43218




Comenity Bank/NWYRK&Co              Comenity Bank/Peebles               Comenity bank/VALCTYFR
PO Box 182789                       P.O. Box 182789                     P.O. Box 182789
Columbus, OH 43218                  Columbus, OH 43218                  Columbus, OH 43218




Comenity bank/VCTRSSEC              Commonwealth of Virginia            County of Henrico
P.O. Box 182789                     Dept of Tax/Legal Unit              Treasury Division
Columbus, OH 43218                  PO Box 2156                         P.O. Box 90775
                                    Richmond, VA 23218                  Henrico, VA 23273-0775



Credit First                        Credit One Bank                     Ditronics
6275 Eastland Road                  PO Box 60500                        7699 West Coast Road
Brook Park, OH 44142-1399           City Of Industry, CA 91716-0500     Las Vegas, NV 89113




Federal National Mortgage Asso      Fedloan Servicing                   Firestone
Fannie Mae, c/o Seterus, Inc.       P.O. Box 69184                      Attn: Bankruptcy Dept.
PO Box 1047                         Harrisburg, PA 17106                PO Box 81344
Hartford, CT 06143-1047                                                 Cleveland, OH 44188-0344
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First Savings CC                    First Virginia                      FMC-Omaha Service Ctr
500 E 60th ST                       4503 W. Broad St.                   PO Box 542000
Sioux Falls, SD 57104               Richmond, VA 23230                  Omaha, NE 68154




Focused Recovery Solutions          GECRB/JCP                           GECRB/Lowes
Re: Neurological Associates         Re: Bankruptcy                      P.O. Box 965005
9701 Metropolitan Ct, Suite B       PO Box 103104                       Orlando, FL 32896-5005
Richmond, VA 23236-3662             Roswell, GA 30076



GECRB/Sam's                         GECRB/Wal Mart                      Global Payments
Attn: Bankruptcy Department         PO BOX 276                          RE: Bankruptcy
PO Box 103104                       Mail code OH 3-4258                 6215 West Howard Street
Roswell, GA 30076                   Dayton, OH 45401                    Niles, IL 60714



Greenpath Debt Solutions            Henrico Federal Credit Union        Internal Revenue Service
36500 Corporate Dr                  PO Box 27032                        P.O. Box 7346
Farmington, MI 48331                Henrico, VA 23273                   Philadelphia, PA 19101-7346




Jason Alexander                     Lendmark Financial Servi            Macy's/DSNB
7705 Rachael Corrine Court          7526 West Broad Street              P.O. Box 8218
Richmond, VA 23227                  Henrico, VA 23294                   Mason, OH 45040




Mariner Finance                     MaxLend                             MCV Collection Department
7445 Lee Davis Hwy                  PO Box 639                          Re: Bankruptcy
Suite 106                           Parshall, ND 58770                  PO Box 980462
Nottingham, MD 21236                                                    Richmond, VA 23298



Natl Tire & BT/CBSD                 NetCredit                           Neurological Associates, Inc.
P.O. Box 6497                       200 West Jackson Blvd.              7301 Forest Avenue
Sioux Falls, SD 57117               Suite 2400                          Suite 300
                                    Chicago, IL 60606                   Richmond, VA 23226



OrthoVirginia                       Richmond Emergency Physicians       Schlee & Stillman, LLC
P.O. Box 35725                      PO Box 79013                        30057 Orchard Lake Road
Richmond, VA 23235-0725             Baltimore, MD 21279-0013            Suite 200
                                                                        Farmington, MI 48334



Seterus Inc,                        Springleaf Financial Services       St. Mary's Hospital
8501 IBM Dr                         7007 Mechanicsville Tpke #103       Attn: Bankruptcy Dept
Bldg 201, Services Inc              Mechanicsville, VA 23111            P.O. Box 100767
Charlotte, NC 28262                                                     Atlanta, GA 30384-0767



SunTrust Mortgage                   Synchrony Bank                      TD Bank USA/Targetcredit
Attn: Bankruptcy Dept.              Recovery Management                 P.O. Box 673
PO Box 27767                        25 SE 2nd Ave., Suite 1120          Minneapolis, MN 55440
Richmond, VA 23261-7767             Miami, FL 33131-1605
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USAA Credit Card Services         Value City Furniture                Verizon
P.O. Box 14050                    Re: Bankruptcy                      500 Technology Drive
Las Vegas, NV 89114-4050          P.O Box 659704                      Suite 550
                                  San Antonio, TX 78265               Saint Charles, MO 63304-2225



Wells Fargo
P.O. Box 11701
Newark, NJ 07101-4701
